     Case 6:06-cr-00026-JRH-CLR Document 1191 Filed 04/27/11 Page 1 of 1




                UNITED STATES DISTRICT COURT
                                                                  2If APR27 PMI2 : 09
                SOUTHERN DISTRICT OF GEORGIA
                                                                 CLERK
                      STATE SBORO DIVISION                           so. i)SIi OF OA.


SHEIKEL JAMISON,

      Movant,

V.                                      Case No.   CV611-006
                                                   CR606-026
UNITED STATES OF AMERICA,

      Respondent.


                               ORDER
      Alter a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.

      SO ORDERED thisday of                              2011.



                                  B. AVANT EDENFIELIY
                                  UNITED STATES DIRiCT JUDGE
                                  SOUTHERN DISTRItJT OF GEORGIA
